        Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 1 of 16




 1   HAGENS BERMAN SOBOL SHAPIRO LLP
     Shana E. Scarlett (Bar No. 217895)
 2   715 Hearst Avenue, Suite 300
     Berkeley, CA 94710
 3   Telephone: (510) 725-3000
     Facsimile: (206) 623-0594
 4
     Email: shanas@hbsslaw.com
 5

 6   Interim Co-Lead Consumer Class Counsel

 7   [Additional Counsel Listed in Signature Block]

 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN FRANCISCO DIVISION

11   MAXIMILLIAN KLEIN, et al.,                        Case No. 20-cv-08570-JD

12                                       Plaintiffs,
                                                        APPLICATION FOR APPOINTMENT
13
            v.                                          AS INTERIM LEAD CONSUMER
14                                                      CLASS COUNSEL BY SHANA E.
     META PLATFORMS, INC.,                              SCARLETT OF HAGENS BERMAN
15                                                      SOBOL SHAPIRO LLP, OR IN THE
                                       Defendant.       ALTERNATIVE, SHANA E.
16                                                      SCARLETT AND REBECCA A.
                                                        PETERSON OF LOCKRIDGE
17
                                                        GRINDAL NAUEN P.L.L.P.
18

19   This document relates to:
20
         All Consumer Actions
21

22

23

24

25

26

27

28
           Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 2 of 16




 1                                                          TABLE OF CONTENTS

 2                                                                                                                                                      Page
 3
     INTRODUCTION ...............................................................................................................................1
 4
     I.        ARGUMENT ..........................................................................................................................1
 5
               A.         Hagens Berman has spent thousands of hours developing the claims of
 6                        the class in this action. .................................................................................................2
 7             B.         Ms. Scarlett and Hagens Berman have a wealth of experience handling
                          class actions and antitrust cases. ..................................................................................5
 8
               C.         Hagens Berman is knowledgeable in the relevant antitrust and privacy
 9
                          law. ..............................................................................................................................9
10
               D.         Hagens Berman is committed to representing this class, but will ensure
11                        it is in a cost-effective way. .........................................................................................9

12             E.         This leadership application has the support of named plaintiff Rachel
                          Banks-Kupcho. ..........................................................................................................10
13
               F.         In the alternative, Hagens Berman and Lockridge support a co-lead
14
                          appointment structure of Ms. Scarlett and Ms. Peterson. ..........................................11
15
               G.         While Hagens Berman and Lockridge remain willing and committed to
16                        working with Quinn Emanuel, significant issues remain. .........................................12

17             H.         Quinn Emanuel as lead counsel raises concerns about fees and costs to
                          the class. ....................................................................................................................13
18
     II.       CONCLUSION .....................................................................................................................13
19

20

21

22

23

24

25

26

27

28
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - i
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 3 of 16




 1                                              INTRODUCTION

 2            Pursuant to this Court’s order (ECF No. 424), Shana E. Scarlett of Hagens Berman Sobol

 3   Shapiro LLP (Hagens Berman) hereby applies to be appointed as interim lead consumer class

 4   counsel. This application is supported by named plaintiff, Rachel Banks-Kupcho, and Lockridge

 5   Grindal Nauen P.L.L.P. (“Lockridge”).

 6            Ms. Scarlett has been acting as co-lead counsel leading this litigation since March 18, 2021

 7   (ECF No. 73). She is the only counsel who has continuously represented the class, after Mr. Steven

 8   Swedlow resigned from Quinn Emanuel Urquhart & Sullivan, LLP (Quinn Emanuel) in November

 9   2022.

10            Plaintiffs have begun six straight months of depositions. Fact discovery is set to close on June

11   23, 2023. Hagens Berman proposes a new leadership structure that permits work to continue apace

12   and does not deprive the class of resources, while resolving certain dysfunctions. Namely, they

13   propose that the same three firms will stay on the case, but there will be a single person designated

14   Lead Counsel, replacing the existing multi-firm leadership structure.

15            The proposed leadership team will ensure diversity, in promoting a female lead counsel in the

16   antitrust bar, and also ensure the inclusion of a diverse team of more junior attorneys. Appointing

17   one sole lead counsel will also ensure accountability to the consumer class, and to this Court, to

18   ensure this litigation proceeds efficiently and effectively.

19            Hagens Berman has every intention of continuing to include attorneys from Lockridge and

20   Quinn Emanuel in litigating this case. Each of the three firms have spent thousands of hours

21   participating in discovery conferences, reviewing documents, and preparing for depositions. This

22   will continue. But this case, and this class, deserves to have one person coordinating strategy and

23   making decisions with finality, and accountability. Ms. Scarlett should be that person.

24                                            I.      ARGUMENT

25            This Court is well aware of the discretion it is afforded under Federal Rule of Civil Procedure

26   23(g)(3), which allows it to “designate interim counsel to act on behalf of a putative class before

27   determining whether to certify the action as a class action.” This application presents an unusual

28
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 1
     Case No. 20-CV-08570-JD
            Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 4 of 16




 1   situation where leadership is being re-examined mid-stream. As this Court recognized, the current

 2   “multiheaded” structure has led to gridlock on issues in this case. (ECF No. 431 at 11-12). This must

 3   stop.

 4              Rule 23(g)(A), a related provision, invites the court to consider a number of factors. Each of

 5   those supports the application here.

 6   A.         Hagens Berman has spent thousands of hours developing the claims of the class in this
                action.
 7
                This case is closer to the halfway line than the beginning. Hagens Berman, and Ms. Scarlett,
 8
     have already devoted thousands of hours to representing the class in this matter. Since the
 9
     appointment of Ms. Scarlett and Hagens Berman to the leadership of this case, much has happened.
10
     The consumer class has served 17 subpoenas on non-parties in this action for production of
11
     documents, focusing on the relevant social networking market and the value of data. Ms. Scarlett and
12
     the team at Hagens Berman have overseen the negotiations of many of these subpoenas. Facebook
13
     has served 20 interrogatories on the three consumer named plaintiffs, and 37 requests for production
14
     of documents. Each of these have been extensively negotiated and the named plaintiffs have
15
     produced 24,631 documents in response to these requests. Scarlett Decl., ¶ 7. 1
16
                Consumer plaintiffs have served 3 interrogatories on Facebook and 81 requests for
17
     production of documents. The contours of production of documents and data are still being
18
     negotiated, but Facebook and non-parties have produced over 4.1 million documents to date. These
19
     are being reviewed and catalogued by document reviewers, staff attorneys and associates as the
20
     litigation teams prepare for depositions. (The first deposition of a Facebook employee took place on
21
     February 2, 2023 and many are being scheduled in the coming weeks and months.) Scarlett Decl.,
22
     ¶ 7.
23
                Hagens Berman’s investment in this case has been significant. Hagens Berman holds the
24
     litigation fund for the case, which has been contributed to by each of the three firms (Hagens
25

26
            1
27       “Scarlett Decl.” refers to the Declaration of Shana E. Scarlett in Support of Application for
     Appointment as Interim Lead Consumer Class Counsel, or in the alternative, Shana E. Scarlett and
28   Rebecca A. Peterson of Lockridge Grindal Nauen P.L.L.P., filed concurrently herewith.
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 2
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 5 of 16




 1   Berman, Quinn Emanuel and Lockridge). To date, the firms collectively have spent millions of

 2   dollars, mostly in document hosting and expert costs. To that end, the Court will hear from the

 3   experts at the February 28, 2023 tutorial. Scarlett Decl., ¶ 8.

 4            A complete rearrangement of counsel on this case is unnecessary. Too much time and energy

 5   has already been devoted on behalf of the class to prepare this case for class certification and trial.

 6   And with only six months of fact discovery remaining, a complete change in the structure would not

 7   benefit the class. But some change must be made. The dynamics on the case have caused internal

 8   friction, resulted in difficulty moving forward with decisions, and have caused unnecessary expense

 9   with two firms unable to agree on a unified strategy. Appointing one sole lead counsel will allow the

10   firms to continue to work together, and will allow all attorneys with the skill and knowledge of this

11   case to continue working, but final decisions will to be made in a final and effective way. It is what

12   the class deserves, and it will return the best result. To that end, if appointed, Ms. Scarlett would

13   continue to encourage and assign work to each of the attorneys from Quinn who have worked on the

14   case to date. There is no intention to exclude them from future work. Rather, the case must move

15   forward in a streamlined manner to cross the finish line. Scarlett Decl., ¶ 10.

16            Despite the claims of Quinn Emanuel, this case was brought on the heels of a public

17   congressional investigation and an article by Dina Srinivasan articulating the contours of a case

18   against Facebook. In 2019, Dina Srinivasan, a researcher and lawyer, published a paper that launched

19   a thousand ships: “The Antitrust Case Against Facebook: A Monopolist’s Journey Towards

20   Pervasive Surveillance in Spite of Consumers’ Preference for Privacy.” 2 In it, she laid out a novel

21   antitrust theory in which Facebook acquired monopoly power by competing on privacy, and

22   subsequently abused that power to further increase surveillance of its users. After its publication, the

23   Wall Street Journal took notice, stating “[h]er argument has had unexpected resonance . . . she

24   published her paper just months before the Federal Trade Commission and a coalition of state

25

26
         2
27        Dina Srinivasan, The Antitrust Case Against Facebook: A Monopolist’s Journey Towards
     Pervasive Surveillance in Spite of Consumers’ Preference for Privacy, 16 BERKELEY L.J. 39 (2019)
28   (“Srinivasan article”).
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 3
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 6 of 16




 1   attorneys general announced that they were weighing potential antitrust cases against Facebook. 3 A

 2   year later, the NY Times noted that “[a]s the legal arguments take shape, there is evidence of Ms.

 3   Srinivasan’s fingerprints.”4 On the heels of the article, the House Judiciary Committee released a

 4   Majority Staff Report titled “Investigation of Competition in the Digital Marketplace: Committee

 5   Report and Recommendation” in October 2020 (only two months before the first complaint in this

 6   action).5 The report was the culmination of 16 months of investigation into the state of competition,

 7   with a focus on companies including Facebook. 6 The report totaled 450 pages, detailed the results of

 8   an investigation that included seven congressional hearings, the review of 1.3 million documents,

 9   submissions from 38 antitrust experts, and interviews with more than 240 market participants. 7

10             Quinn Emanuel’s complaint borrowed from the House Subcommittee Report and Dina

11   Srinivasan’s article. For example, the Quinn Emanuel complaint echoes the House Subcommittee

12   Report’s discussion of “powerful direct network effects” that contribute to an anticompetitive

13   market; the Klein Complaint mirrors this language.8 The Quinn Emanuel complaint follows the

14   House Subcommittee Report in describing the high switching costs associated with leaving

15   Facebook.9 The Quinn Emanuel complaint adopts the House Subcommittee Report’s allegation that

16   Facebook’s strategy to “acquire, copy, or kill” its competitors have created a monopoly that has

17

18       3
           Jeff Horwitz, She Argued Facebook Is a Monopoly. To Her Surprise, People Listened, WALL
19   ST. J. (Dec. 10, 2019), https://www.wsj.com/articles/yale-law-grads-hipster-antitrust-argument-
     against-facebook-findsmainstream-support-11575987274.
20       4
          Daisuke Wakabayashi, The Antitrust Case Against Big Tech, Shaped by Tech Industry Exiles,
     N.Y. TIMES (Dec. 20, 2020), https://www.nytimes.com/2020/12/21/business/a-former-big-tech-
21   insider-is-helping-with-antitrust-cases-against-the-companies.html.
         5
22         Investigation of Competition in Digital Markets, Majority Staff Report and Recommendations
     (“House Subcommittee Report”), Subcommittee on Antitrust, Commercial, and Administrative Law
23   of the Committee on the Judiciary (Oct. 6, 2020), available at https://kl.link/3jGISfK.
         6
           Press Release, David N. Cicilline, Judiciary Committee Publishes Final Report on Competition
24   in the Digital Market (July 19, 2022), https://cicilline.house.gov/press-release/judiciary-committee-
     publishes-final-report-on-competition-in-the-digital-marketplace.
25       7
             Id.
26       8
         Compare House Subcommittee Report at 31 (noting “social networks like Facebook exhibit
     powerful direct network effects”) with Klein Complaint, ECF No. 1 at ¶ 77 (discussing “[t]he
27   powerful direct network effects inherent in the Social Network and Social Media Markets”).
         9
28           Compare House Subcommittee Report at 145 with Klein Complaint, ¶ 198.
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 4
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 7 of 16




 1   eroded the privacy protections for its users over time.10 The Quinn Emanuel complaint also points to

 2   the same Facebook missteps that Dina Srinivasan notes in her article. 11

 3              Regardless of who filed the first complaint, it was built on the work of government

 4   committees. And in any case, the work since then has outstripped any initial investigation. Millions

 5   of documents have been reviewed, depositions and evidence – the true work of trial lawyers – are

 6   now underway. The originating events of three years ago can hardly be determinative of the outcome

 7   now.

 8   B.         Ms. Scarlett and Hagens Berman have a wealth of experience handling class actions and
                antitrust cases.
 9
                Ms. Scarlett is highly qualified to serve as lead counsel. Ms. Scarlett has been active in the
10
     antitrust bar for twenty years. She has been appointed as lead counsel in one prior case, discussed
11
     below, but also represents the fresh perspective of a younger partner from an established law firm. 12
12
                Ms. Scarlett is the regional managing partner of Hagens Berman’s Bay Area office with deep
13
     roots in the Bay Area. She is the only partner in the leadership structure of the consumer class who is
14
     physically present in the Bay Area, the jurisdiction of this Court. She went to law school at Stanford
15
     Law School and proceeded to work at some of the largest plaintiffs’ firms in the country. Joining
16
     Hagens Berman in 2007, she has now worked for the firm for sixteen years, evidencing a
17
     commitment to the firm’s leadership, culture and management. Scarlett Decl., ¶ 3.
18
                Ms. Scarlett has played a leading role in many of Hagens Berman’s antitrust successes,
19
     including:
20
                       In re Broiler Chicken Antitrust Litigation, No. 16-CV-08637 (N.D. Ill.): Hagens
21                      Berman is appointed co-lead counsel for indirect purchaser class with recovery to
                        date of $181 million on behalf of the class. Ms. Scarlett has deposed many critical
22

23
          10
24             Compare House Subcommittee Report at 14 with Klein Complaint, ¶ 169.
          11
           Compare Srinivasan article at 56-57 (discussing Facebook’s Beacon product) with Klein
25   Complaint, ¶ 108-09 (same); compare Srinivasan article at 62-67 (discussing Like Button) with Klein
     Complaint, ¶ 113 (same); compare Srinivasan article at 61-62 (discussing Facebook’s temporary user
26   voting scheme) with Klein Complaint, ¶ 116 (same).
          12
27          See In re Robinhood Outage Litig., No. 3:20-cv-01626-JD, ECF No. 59 at 3 (“Counsel with
     significant prior appointments are by no means disqualified from consideration here, but leadership
28   roles should be made available to newer and less experienced lawyers.”).
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 5
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 8 of 16




 1                      witnesses in the *case, argued multiple motions before the Court and played a crucial
                        role in the strategic management of the case;
 2
                       In re Pork Antitrust Litigation, No. 18-cv-01776 JRT-HB (D. Minn.): Hagens
 3                      Berman represents the consumer indirect purchaser class in this antitrust class action.
                        Ms. Scarlett has deposed many executives of the defendant companies, and most
 4                      recently argued the motion for class certification on behalf of the consumer class;

 5                     Jien, et al. v. Perdue Farms, Inc., et al., No. 19-cv-2521 (D. Md.): Hagens Berman
                        represents a class of processing plant workers at poultry plants. To date, recoveries of
 6                      $134.6 million have been achieved on behalf of the class;

 7                     In re Lithium Ion Batteries Antitrust Litigation, No. 13-md-02420 (N.D. Cal.): In a
                        three-way leadership structure appointed by Judge Gonzalez Rogers, Ms. Scarlett
 8                      managed many of the day-to-day litigation issues, resulting in recovery of $113.45
                        million to the class.13
 9
              Judge Alsup sua sponte appointed Ms. Scarlett personally as lead counsel in the in the
10
     generic drug litigation In re Glumetza Antitrust Litigation, No. C19-05822 (N.D. Cal.). The case
11
     eventually settled for over $450 million. Scarlett Decl., ¶ 5.
12
              But these case descriptions alone do not reflect the depth of experience Ms. Scarlett has
13
     gained. Ms. Scarlett is one of the few women to first chair many executive depositions to great
14
     success. Ms. Scarlett has first-chaired hundreds of depositions over her twenty-year career, unusual
15
     for any attorney but particularly unusual for a female antitrust attorney. (Women are still
16
     underrepresented in the antitrust bar. Ms. Scarlett was recently recognized as one of the Top
17
     Antitrust Lawyers 2022 in the Daily Journal for the State of California. On that list of 25 antitrust
18
     lawyers, only 7, or 28 percent, were women.) Ms. Scarlett has argued extensively in federal courts
19
     across the country, from small discovery motions to class certification, summary judgment, expert
20
     evidentiary proceedings, and all numbers of settlement approval proceedings. Ms. Scarlett has
21
     argued on multiple occasions in front of the Ninth Circuit Court of Appeals. She has received a
22
     number of awards and recognition, including as a Northern California Super Lawyer every year from
23

24
         13
25          Ms. Scarlett’s participation and leadership on other cases demonstrates a deep background in
     antitrust cases, including her work on In re EBooks Antitrust Litigation, No. 11-md-02293
26   (S.D.N.Y.) (as co-lead counsel, Hagens Berman recovered $568 million on behalf of the class); In re
     Optical Disk Drive Antitrust Litigation, No. 10-md-02143 (N.D. Cal.) (Hagens Berman recovered
27   $205 million on behalf of a class of indirect purchasers); In re Animation Workers Antitrust
     Litigation, No. 14-cv-4062 (N.D. Cal.) (Hagens Berman recovered nearly $169 million on behalf of
28   animation studio workers).
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 6
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 9 of 16




 1   2013 to 2022, a Top Plaintiff Lawyer, 2021, by the Daily Journal, and a Top 100 Civil Plaintiff Trial

 2   Lawyer in California by the National Trial Lawyers in 2021 and 2022. Scarlett Decl., ¶ 4.

 3            Behind Ms. Scarlett’s accomplishments, however, stands an even more accomplished law

 4   firm. Hagens Berman is one of the most highly recognized plaintiffs’ firms in the country due in no

 5   small part to its founding and managing partner, Steve Berman. Mr. Berman, the founder and

 6   managing partner of Hagens Berman, has served as lead or co-lead counsel in antitrust, securities,

 7   consumer, product liability, and employment class actions and complex litigation throughout the

 8   country. Mr. Berman is one of the rare attorneys who has tried multiple complex antitrust actions. In

 9   September 2018, Mr. Berman served as the lead trial lawyer on behalf of college athletes, where the

10   Court granted injunctive relief on behalf of the class following a bench trial. Hagens Berman also

11   recovered settlements totaling $200 million on behalf of the class. The NCAA appealed all the way

12   up to the Supreme Court, where the injunctive relief awarded to the class was affirmed by a

13   unanimous court. See Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141 (2021). Berman

14   Decl., ¶ 3.14

15            A number of attorneys on the litigation team at Hagens Berman demonstrate the firm’s

16   commitment to diversity and inclusion. Included on the litigation team are: Hannah Song, of Hagens

17   Berman, a minority attorney, a graduate of Stanford Law School, and an attorney under thirty years

18   of age; Robert Lopez, a partner in Hagens Berman’s Seattle office, a minority attorney and an expert

19   in privacy and data issues. They have been assisted to date by their colleagues Tom Loeser, Andrew

20   Volk, and Christopher Pitoun. See also Scarlett Decl., Ex. A (Hagens Berman Resume).

21            Lockridge, who also supports the application of Ms. Scarlett, also has demonstrated its

22   commitment to diversity in the staffing of this litigation. Rebecca Peterson is partner at Lockridge

23   who practices in the firm’s class action group with a focus on consumer protection and is licensed to

24   practice in California and Minnesota. Laura Matson is a 2014 law graduate, former federal law clerk,

25

26       14
          “Berman Decl.” refers to the Declaration of Steve W. Berman in Support of Application for
27   Appointment as Interim Lead Consumer Class Counsel by Shana E. Scarlett of Hagens Berman
     Sobol Shapiro LLP, or in the alternative, Shana E. Scarlett and Rebecca A. Peterson of Lockridge
28   Grindal Nauen P.L.L.P., filed concurrently herewith.
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 7
     Case No. 20-CV-08570-JD
         Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 10 of 16




 1   and also holds a Ph.D. in Geography, Environment & Society. Along with Ms. Peterson, Brian Clark,

 2   a partner in Lockridge’s antitrust practice, has helped lead Lockridge’s team in this case. Mr. Clark

 3   leads some of the country’s largest agricultural antitrust cases, including price-fixing cases involving

 4   chicken, pork, beef, turkey and peanuts, which have to date led to the recovery of nearly $400

 5   million. Peterson Decl., Ex. A (Lockridge Resume). 15 Kyle Pozen, senior counsel at Lockridge, has

 6   also played an active role on the case over the past two years.

 7            Hagens Berman and Ms. Scarlett represent the diversity of the proposed class, are dedicated

 8   to encouraging diversity in the practice of law, and have taken concrete steps toward that goal. With

 9   this Application is a declaration of Steve Berman, the founding partner of Hagens Berman. Mr.

10   Berman describes his out personal commitment to diversity at his firm. The prominence of Ms.

11   Scarlett is no accident. Hagens Berman has spent years nourishing the talent of its female attorneys.

12   This past year six new partners were named to the Hagens Berman partnership, five of whom are

13   women. The first Management Committee of the firm was formed in 2000, and was compromised of

14   four attorneys, three of whom were women. Berman Decl., ¶¶ 4-5.

15            Likewise, Lockridge is committed to developing and fostering a diverse and inclusive

16   practice environment. For the past two consecutive years, Lockridge has been named a Best Law

17   Firm for Women by Working Mother, a recognition given to only sixty firms in the country.

18   Lockridge is an active member of Twin Cities Diversity in Practice, a local association of more than

19   sixty law firms and corporate legal departments, including those of Fortune 500 companies,

20   committed to creating a vibrant and inclusive legal community. Lockridge also supports a number of

21   other local affinity bar organizations, including the Diversity Committee of the Minnesota Chapter of

22   the Federal Bar Association, the Minnesota American Indian Bar Association, and the Minnesota

23   Asian Pacific American Bar Association. Lockridge attorneys also provide pro bono services to a

24   number of different organizations to serve diverse or historically disadvantaged groups and

25

26       15
           “Peterson Decl.” refers to the Declaration of Rebecca A. Peterson in Support of Application
27   for Appointment as Interim Lead Consumer Class Counsel by Shana E. Scarlett of Hagens Berman
     Sobol Shapiro LLP, or in the Alternative, Shana E. Scarlett and Rebecca A Peterson of Lockridge
28   Grindal Nauen P.L.L.P., filed concurrently herewith.
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 8
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 11 of 16




 1   communities, and the firm was awarded the Children’s Law Center’s Distinguished Service Award

 2   in 2011 for its work representing foster care children. Peterson Decl., ¶ 8. Named plaintiff Rachel

 3   Banks-Kupcho, who has worked alongside Hagens Berman and Lockridge over the past two years,

 4   attests that she has observed first-hand the commitment of Hagens Berman and Lockridge to the

 5   development of diverse voices. Banks-Kupcho Decl., ¶ 4. 16 The proposed leadership team “reflect[s]

 6   the diversity of the proposed national class.” In re Robinhood Outage Litig., No. 3:20-cv-01626-JD,

 7   ECF No. 59 at 3.

 8   C.        Hagens Berman is knowledgeable in the relevant antitrust and privacy law.

 9             Hagens Berman has decades of experience representing consumers in technically challenging

10   cases and privacy cases. Beyond its expertise in antitrust cases across the country, its trial against the

11   NCAA in the Alston matter, Hagens Berman also has particular expertise in monopolization cases.

12   Hagens Berman represented app developers against both Google and Apple in the In re Google Play

13   Store Antitrust Litigation, No. 3:21-md-02981-JD, and Cameron v. Apple Inc., No. 4:19-03074-

14   YGR, where they were lead counsel. Both these cases allege that these internet giants wrongfully

15   obtained monopoly power over the distribution of apps and in-app products and the billing systems

16   for both types of digital products. The Google Play store litigation (pending in front of this Court)

17   settled for $90 million; the Cameron action settled for $100 million. Scarlett Decl., ¶ 6.

18   D.        Hagens Berman is committed to representing this class, but will ensure it is in a cost-
               effective way.
19
               Hagens Berman’s commitment to this case cannot be at issue. Hagens Berman attorneys and
20
     staff have devoted thousands of hours of to date, and are pledging thousands of hours more. Hagens
21
     Berman holds the litigation fund, has overseen assessments, and Ms. Scarlett has personally
22
     approved every expense from the litigation fund. At times, Hagens Berman and Quinn Emanuel have
23
     disagreed. Most disputes have been resolved. But Hagens Berman has been a zealous advocate on
24
     behalf of the class’s resources. Scarlett Decl., ¶ 9.
25

26        16
           “Banks-Kupcho Decl.” refers to the Declaration of Plaintiff Rachel Banks-Kupcho in Support
27   of Application for Appointment as Interim Lead Consumer Class Counsel by Shana E. Scarlett of
     Hagens Berman Sobol Shapiro LLP, or in the Alternative, Shana E. Scarlett and Rebecca A. Peterson
28   of Lockridge Grindal Nauen P.L.L.P., filed concurrently herewith.
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 9
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 12 of 16




 1              Hagens Berman and Ms. Scarlett commit to keeping “clear and definitive records” as to fees

 2   and costs incurred.17 In accordance with the original leadership appointment order, Ms. Scarlett has

 3   reviewed the detailed billing records of all Hagens Berman and Lockridge attorneys on a monthly

 4   basis. All time has been entered in a contemporaneous manner. Ms. Scarlett has furthered reviewed

 5   this Court’s instructions in Robinhood Outage Litigation, and commits that by 14 days after each

 6   months’ end, she will ensure that a bill for the prior month is finalized, reflecting her review of the

 7   billing records and any write-downs or write-offs by interim co-lead counsel for inefficiencies,

 8   duplication of effort, misjudgments in staffing, and the like. Ms. Scarlett commits that these final

 9   bills for each month will be segregated and kept by lead counsel, and may not be altered. Only these

10   records, prepared contemporaneously with the expenditures, will be used for a fees and costs motion.

11   These practices accord with Hagens Berman’s robust timekeeping policies. Scarlett Decl., ¶ 9.

12   E.         This leadership application has the support of named plaintiff Rachel Banks-Kupcho.

13              Representation matters, and nowhere more so than in a class action. Ms. Banks-Kupcho has

14   been one of the named representatives since the filing of the first consolidated pleading in the

15   consumer action. She has responded to interrogatories, produced documents, allowed her phones and

16   other devices to be inspected and the privacy settings produced to defendant Facebook. This

17   discovery has been intense and intrusive. Banks-Kupcho Decl., ¶ 2.

18              Ms. Banks-Kupcho has been apprised of the current discussion regarding leadership in this

19   case through discussions with counsel. She understands that the Court has denied a motion to

20   substitute Kevin Teruya as interim co-lead consumer class counsel. She understands the Court has

21   stated that the consumer class counsel arrangement has become dysfunctional and not in the best

22   interests of the putative class. After communications with Ms. Scarlett and Ms. Peterson, she agrees

23   with the Court’s conclusion. Banks-Kupcho Decl., ¶ 3.

24              Having been exposed first-hand to the culture of both Hagens Berman and Lockridge, Ms.

25   Banks-Kupcho attests that it is her belief both Hagens Berman and Lockridge value diversity. She

26   has worked with attorneys and staff from these firms from varied backgrounds, including gender,

27
          17
28             In re Robinhood Outage Litig., No. 3:20-cv-01626-JD, ECF No. 59 at 3.
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 10
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 13 of 16




 1   age, race, nationality and sexual orientation. Ms. Banks-Kupcho believes that diversity in the

 2   leadership team is essential to successfully representing her as well as the national class that she

 3   represents. As a woman of color, Ms. Banks-Kupcho knows the stinging bite of gender bias better

 4   than most. Banks-Kupcho Decl., ¶¶ 4-5. Ms. Banks-Kupcho supports the appointment of Ms. Scarlett

 5   as sole Lead Counsel in this case, or in the alternative, Ms. Scarlett and Ms. Peterson as Co-Lead

 6   Counsel for the consumer class. Banks-Kupcho Decl., ¶ 6.

 7   F.       In the alternative, Hagens Berman and Lockridge support a co-lead appointment
              structure of Ms. Scarlett and Ms. Peterson.
 8
              This is a large, complex case. Cases of this size take resources, coordination and the input of
 9
     many attorneys. If this Court is concerned in any way at the appointment of an individual attorney,
10
     both firms support the appointment of Ms. Scarlett and Ms. Rebecca Peterson of Lockridge in a co-
11
     lead structure. Ms. Peterson has played a unique and valuable role in this litigation to date. Ms.
12
     Peterson has been part of successful prosecution of actions on behalf of consumers in both state and
13
     federal courts and has led a number of consumer cases, which address the issues of materiality and
14
     deception which form a piece of this case (that is, whether Facebook engaged in a collusive scheme
15
     of omission and misrepresentations of its data use and collection practices to gain its monopoly). For
16
     example, Ms. Peterson is interim co-lead counsel in In re Plum Baby Food Litigation, Case 4:21-cv-
17
     00913-YGR (N.D. Cal.); In re Nurture Baby Food Litigation, 1:21-cv-01217-MKV (S.D.N.Y.); and
18
     In re Crops Input Antitrust Litigation, 4:21-md-02993 (E.D. MO). Ms. Peterson also led the
19
     litigation in In re Big Heart Pet Brands Litigation, Civil No. 4:18-cv-00861-JSW (N.D. Cal.) and
20
     Zeiger et al. v. WellPet LLC et al., No. 3:17-cv-04056-WHO (N.D. Cal.). Ms. Peterson has
21
     extensively litigated consumer cases and conducted and defended dozens of depositions, including
22
     expert depositions. In these cases, she vetted and worked extensively with experts, argued class
23
     certification motions and dispositive motions, and handled cross-examination in Daubert hearings.
24
     Finally, Ms. Peterson has been part of various trial teams, including recently in In re Syngenta
25
     Litigation (Minn. Producers), No. 27-cv-15-3785 (Henn. Co. Dist. Ct., Minn.) and, alongside the trial
26
     team, was recognized as Attorney of the Year by Minnesota Lawyer for her work on behalf of U.S.
27
     farmers in that case. See Peterson Decl., Ex. B (Peterson Resume).
28
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 11
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 14 of 16




 1            In this litigation, Ms. Peterson’s knowledge and skills in the elements of consumer deception

 2   have been critical. Ms. Peterson has overseen much of the expert and discovery work addressing

 3   these issues. Her skills in this area perfectly complement Ms. Scarlett’s expertise in the antitrust

 4   arena.

 5   G.       While Hagens Berman and Lockridge remain willing and committed to working with
              Quinn Emanuel, significant issues remain.
 6
              Although Hagens Berman and Quinn Emanuel have worked well together in other cases, this
 7
     case has proven to be the exception to the rule. Ms. Scarlett has stated her concerns, in writing and in
 8
     front of the Court, that certain attorneys have not given her voice the weight commensurate with her
 9
     experience and expertise because of her gender. Ms. Scarlett raised concerns during the course of
10
     this litigation with her managing partner, Steve Berman. Mr. Berman attests to these
11
     contemporaneous communications. Mr. Berman and Ms. Scarlett, amongst others at Hagens Berman,
12
     discussed and attempted various solutions to correct the behavior over the course of this case. None
13
     were successful. Given the inability to resolve these issues between the two firms, Mr. Berman
14
     attests that he and Hagens Berman support and encourage open discussion of issues regarding gender
15
     bias with the Court. Mr. Berman attests that despite Ms. Scarlett acting in a leadership position in
16
     many cases, he has not heard her raise this issue previously. Berman Decl., ¶ 5.
17
              During discussions regarding leadership structure, Quinn Emanuel has pointed out that the
18
     two firms have worked together on multiple cases, and it is only this one which presents a problem.
19
     The implication, being of course, that Ms. Scarlett is the unique factor causing the difficulties.
20
              But it is Ms. Scarlett’s gender that is the unique factor. Ms. Scarlett has not had to face
21
     similar issues when working with other firms. Berman Decl., ¶ 5. And Hagens Berman and Quinn
22
     Emanuel have been appointed and successfully served as co-lead counsel in the several recent cases.
23
     But it appears that Quinn Emanuel is only able to work collaboratively as co-lead with Hagens
24
     Berman when the lead counsel from Hagens Berman is not a woman. For example, in Mackmin, et
25
     al. v. Visa Inc., No. 1:19-mc-00018-RJL (D.D.C.), the two firms are appointed as co-lead counsel.
26
     But the Hagens Berman attorneys on this case are Steve Berman, Ben Harrington, and Benjamin
27
     Siegel. In the other three recent cases, Hagens Berman is co-lead counsel, and Quinn Emanuel serves
28
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 12
     Case No. 20-CV-08570-JD
          Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 15 of 16




 1   on the executive committee.18 The new proposed leadership would therefore seem to tread well-

 2   established ground between the two firms that has worked – Hagens Berman as leadership, with a

 3   significant role being played by Quinn Emanuel.

 4             Hagens Berman does not raise this issue lightly, nor the requested relief from the Court. In

 5   light of the ongoing relationship between Hagens Berman and Quinn Emanuel, the request made

 6   here has not been the easiest road to take, but it has been the just one. Berman Decl., ¶ 6.

 7   H.        Quinn Emanuel as lead counsel raises concerns about fees and costs to the class.

 8             The Court has instructed parties to follow the guidance laid out in In re Robinhood Outage

 9   Litig., No. 3:20-cv-01626-JD, ECF No. 59 at 3. This Court also stated that lead counsel should

10   “review the billing records,” and note “any write-downs or write-offs by interim co-lead counsel for

11   inefficiencies, duplication of effort, misjudgments in staffing, and the like.” Id.

12             On the eve of the last case management conference, Quinn Emanuel provided Hagens

13   Berman with its detailed billing records since the inception of the case. Hagens Berman believes that

14   there exists significant issues with the rates being charged to date by Quinn. For example, a 2018 law

15   school graduate has an hourly billing rate of $1,165.00. In contrast, Steve Berman, one of the

16   foremost trial attorneys in the country with 41 years of experience has a billable rate of $1,285.00.

17   These disparate rates raise significant concerns regarding staffing for the class. Hagens Berman

18   raised these issues with Quinn during the course of discussions to try and resolve the leadership

19   issues without Court intervention, but no resolution was reached.

20                                            II.     CONCLUSION

21             Facing a defendant with almost limitless funds, the consumer class deserves representation

22   that is excellent, focused, and accountable. A complete do-over is not possible with only six months

23   remaining in fact discovery, but an adjustment is necessary. The proposed appointment of Ms.

24   Scarlett ensures that one voice on behalf of the class, but also comes with a commitment that the

25   voices of all attorneys in the plaintiffs’ structure will be heard.

26
          18
27          See Frame-Wilson et al. v. Amazon.com, Inc., 2:20-cv-00424-RAJ (W.D. Wash.); De Coster et
     al. v. Amazon.com, Inc., 2:21-cv-00693-RSM (W.D. Wash.); Brown v. Amazon.com, Inc., No. 22-cv-
28   00965-JHC (W.D. Wash.).
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 13
     Case No. 20-CV-08570-JD
         Case 3:20-cv-08570-JD Document 440 Filed 02/03/23 Page 16 of 16




 1   DATED: February 3, 2023             Respectfully submitted,

 2                                       HAGENS BERMAN SOBOL SHAPIRO LLP
 3                                       By: s/ Shana E. Scarlett
                                             Shana E. Scarlett
 4
                                         Hannah Song (Bar No. 343110)
 5                                       715 Hearst Avenue, Suite 300
                                         Berkeley, CA 94710
 6                                       Telephone: (510) 725-3000
                                         Facsimile: (510) 725-3001
 7                                       Email: shanas@hbsslaw.com

 8                                       Steve W. Berman (pro hac vice)
                                         HAGENS BERMAN SOBOL SHAPIRO LLP
 9                                       1301 Second Avenue, Suite 2000
                                         Seattle, WA 98101
10                                       Telephone: (206) 623-7292
11                                       Facsimile: (206) 623-0594
                                         Email: steve@hbsslaw.com
12
                                         Interim Co-Lead Counsel for the Consumer Class
13
                                         LOCKRIDGE GRINDAL NAUEN P.L.L.P.
14                                       W. Joseph Bruckner (admitted pro hac vice)
                                         Brian D. Clark (admitted pro hac vice)
15                                       Rebecca A. Peterson (Bar No. 241858)
                                         Kyle J. Pozan (admitted pro hac vice)
16                                       Laura M. Matson (pro hac vice pending)
                                         100 Washington Avenue South, Suite 2200
17
                                         Minneapolis, MN 55401
18                                       Telephone: (612) 339-6900
                                         Email: wjbruckner@locklaw.com
19                                               bdclark@locklaw.com
                                                 rapeterson@locklaw.com
20                                               kjpozan@locklaw.com
                                                 lmmatson@locklaw.com
21
                                         Additional Counsel for the Consumer Class
22

23

24

25

26

27

28
     SCARLETT APPL. FOR APPOINTMENT
     AS INTERIM LEAD COUNSEL - 14
     Case No. 20-CV-08570-JD
